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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN -
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CERTIFICATE OF GOOD STANDING

|, Thomas L. Dorwin, Clerk of the United States District Court

for the Western District of Michigan, do hereby certify that

NICOLE SPRINGSTEAD-STOLTE

was duly admitted to practice in said Court on January 4, 2021
and is in good standing as a member of the bar of said Court.
Thomas L. Dorwin, Clerk of Court

Dated at Grand Rapids,
Michigan, on June 15, 2022

By:

Deputy Clerk
